        Case 1:96-cv-00437-WJ-LCS Document 98 Filed 12/16/03 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO



DIAMOND BAR CATTLE COMPANY, et al.,

        Plaintiffs,


vs.                                                          Civil No. 96-437 WJ/LFG


UNITED STATES OF AMERICA, et al.,

        Defendants.


                MEMORANDUM OPINION AND ORDER GRANTING
           ENVIRONMENTAL APPLICANTS’ MOTION TO INTERVENE AND
                    GRANTING MOTION TO WITHDRAW


        THIS MATTER comes before the Court pursuant to the Environmental Applicants’

Motion to Intervene [Docket No. 78] and Motion to Withdraw [Docket No. 76].

        The United States does not oppose the Environmental Applicants’Motion to Intervene.

While the Laneys stated their opposition to the motion, they have filed no brief in opposition.

Moreover, I find pursuant to Fed. R. Civ. P. 24(a) that the application to intervene was timely,

that the Environmental Applicants claim an interest relating to the property or transaction which is

the subject of this action, that the Environmental Applicants’interests may be impaired or

impeded; and that the Environmental Applicants’interests are not adequately represented by

existing parties.

        The intervenor applicants initially moved to intervene in this case on August 19, 1996.

This was little more than four months after the Complaint was filed on April 1, 1996. That

motion was denied as moot on December 4, 1996 within the same Memorandum Opinion and
        Case 1:96-cv-00437-WJ-LCS Document 98 Filed 12/16/03 Page 2 of 4



Order in which the Court granted summary judgment in favor of the United States. The

intervenor applicants filed a new motion to intervene on September 24, 2003 which essentially

renews their original motion. None of the parties is arguing that the application was not timely.

       The Tenth Circuit requires that an applicant’s interest in the proceedings be direct,

substantial, and legally protectable.   Coalition of Arizona/New Mexico Counties for Stable

Economic Growth v. Dep’t of Interior, 100 F.3d 837, 839 (10th Cir. 1996) (hereinafter Coalition)

Whether an interest is sufficient to warrant intervention is highly fact specific. Id. at 841. The

purpose of the “interest” test is to involve as many apparently concerned persons in a lawsuit as

is compatible with efficiency and due process in order to facilitate disposition of lawsuits. Id.

The Tenth Circuit has tended to follow a somewhat liberal line in allowing intervention. Id.

       In Coalition, an economic interest group brought suit against the Department of Interior

seeking to have the Mexico Spotted Owl delisted as an endangered species. A wildlife

photographer sought to intervene in the action in order to prevent the delisting. The District

Court denied the photographer’s motion to intervene. Id. The Tenth Circuit reversed. Id. The

Tenth Circuit found that the wildlife photographer had a direct, substantial, and legally protectable

interest in the proceedings.

       In Utah Association of Counties v. Clinton, 255 F.3d 1246 (10th Cir. 2001) ( hereinafter

Utah Counties), counties filed suit to invalidate a Presidential proclamation establishing a national

monument. Environmental organizations and tourism-related businesses moved to intervene. The

district court denied the motion to intervene. The Tenth Circuit reversed finding that the groups

met all of the requirements for intervention as of right. Id. In finding that the groups had a direct,

substantial, and legally protectable interest in the proceedings, the court noted that the Supreme

Court has stated that “the desire to use or observe an animal species, even for purely esthetic


                                                  2
        Case 1:96-cv-00437-WJ-LCS Document 98 Filed 12/16/03 Page 3 of 4



purposes, is undeniably a cognizable interest for purposes of standing.” Id. at 1252 (citing Lujan

v. Defenders of Wildlife, 504 U.S. 555, 562-63 (1992)).

        In this case, the intervenor applicants are various environmental groups that claim the type

of interests found to be valid in Coalition and Utah Counties. None of the parties argues that the

intervenor applicants do not have direct, substantial, and legally protectable interests in these

proceedings.

        In determining whether an applicant’s interest may be impaired or impeded, the Tenth

Circuit has held that the question of impairment is not separate from the question of existence of

an interest. Utahns for Better Transportation v. United States Dep’t of Transportation, 295 F.3d

1111, 1116 (10th Cir. 2002) (hereinafter Utahns). To satisfy this element, an intervenor applicant

must show only that impairment of its interest is possible if intervention is denied. Utah Counties,

255 F.3d at 1253. This burden is minimal. Id.

        In this case, all the intervenor applicants must show to meet this element is that, if the

Court were to decide in favor of the Laneys and against the United States, the applicants’

interests might be impaired. None of the parties argues that impairment of the applicants’

interests is not possible.

        In order to show that its interests are not adequately represented by existing parties, an

applicant need only meet the minimal burden of showing that representation may be inadequate.

Utah Counties, 255 F.3d at 1254. The possibility that the interests of the applicant and the parties

may diverge need not be great. Id. A federal agency must represent the public interest which may

differ from an applicant’s particular interest. Id. at 1255. An applicant’s interest may not be

adequately represented by a government entity that must represent the broader public interest. Id.

Even when an applicant’s objectives and those of the government appear to be identical, “the


                                                   3
       Case 1:96-cv-00437-WJ-LCS Document 98 Filed 12/16/03 Page 4 of 4



government’s representation of the public interest generally cannot be assumed to be identical to

the individual parochial interest of a particular member of the public merely because both entities

occupy the same posture in the litigation.” Id. at 1255-56. In Utah Counties, the government

took no position with regard to the motion to intervene, and the Tenth Circuit found that the

government’s silence on any intent to defend the applicants’special interests was “deafening.” Id.

at 1256.

       In this case, both the intervenor applicants and the United States seek to have the

trespassing cattle removed from the federal lands. However, the government has not asserted that

it will defend the applicants’special interests and has not opposed the applicants’motion to

intervene.

       In light of the above, and considering that the motion is essentially unopposed, I find the

motion to intervene is well taken and will be granted. I will also grant the Environmental

Applicants’Motion to Withdraw as Attorney and Appointment of Substitute Attorney [Docket

No. 76].

CONCLUSION

       IT IS THEREFORE ORDERED that the Environmental Applicants’Motion to Intervene

[Docket No. 78] is hereby GRANTED.

       IT IS FURTHER ORDERED that the Environmental Applicants’Motion to Withdraw as

Attorney and Appointment of Substitute Attorney [Docket No. 76] is hereby GRANTED.




                                                      _________________________________
                                                      UNITED STATES DISTRICT JUDGE




                                                 4
